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                        IN THE UNITED STATES BANKRUPTCY COURT

                                 FOR THE DISTRICT OF DELAWAR


In re:                                                  )        Chapter 11
                                                        )
W. R. GRACE & CO., et ai.,                              )        Case No. 01-1139 (JKF)
                                                        )        (Jointly Administered)
                            Debtors.                    )



                                       CERTIFICATE OF SERVICE

                 I, Timothy P. Cairns, hereby certify that on the ih day of August, 2009, I caused a

copy of the following documents to be served on the individuals on the attached service list in

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              PLAN PROPONENTS' PHASE II BRIEF REGARDING BANK LENDER
              ISSUES IN SUPPORT OF CONFIRMATION OF JOINT PLAN OF
              REORGANIZATION UNDER CHAPTER 11 OF THE BANKRUPTCY CODE




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